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 6

 7                                 UNITED STATES DISTRICT COURT

 8                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                                     )   Case No.: 2:12-cr-00238-MCE
10   United States of America,                       )
                                                     )
11                    Plaintiff,                     )   STIPULATION TO CONTINUE
                                                     )   STATUS CONFERENCE; ORDER
12          vs.                                      )
                                                     )
13   Eric Johnston,                                  )
                                                         DATE: August 29, 2013
                                                     )
14                    Defendant                      )   TIME: 9:00 a.m.
                                                     )   JUDGE: Hon. Morrison E. England, Jr.
15                                                   )
                                                     )
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18          All counsel still need additional time for ongoing negotiations. Therefore, it is requested

19   that the Status Conference set for August 29, 2013 at 9:00 a.m. be continued to November 21,

20   2013 at 9:00 a.m.. I have spoken to AUSA Kyle Reardon who agrees to this request and further

21   agree that I may sign his name to it.

22                                           STIPULATION

23          Plaintiff, United States, and Defendant, Eric Johnston, through their undersigned counsel,

24   hereby stipulate and agree that the Court may re-set the date for the Status Conference to

25   November 21, 2013 at 9:00 a.m. The parties further stipulate that time may be excluded from the




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 1   Speedy Trial Act calculation from and including the date of August 29, 2013, the date currently

 2   set for the Status Conference, to and including November 21, 2013, the new Status Conference

 3   date, pursuant to 18 U.S.C. §3161 (h)(7)(A) and (B)(iv) and Local Code T4 in order to give

 4   Counsel for the Defendants reasonable time to prepare. The parties stipulate that the ends of

 5   justice to be served by granting the continuance outweigh the best interests of the public and

 6   defendants in a speedy trial.

 7   IT IS SO STIPULATED.

 8
     DATED:         August 27, 2013                        BENJAMIN B. WAGNER
 9                                                         United States Attorney
10
                                                           /s/ Kyle Reardon
11                                                         by Jan David Karowsky w/
                                                           Mr. Reardon’s approval
12                                                by
                                                           Kyle Reardon
13                                                         Assistant U.S. Attorney

14

15   DATED:         August 27, 2013                        JAN DAVID KAROWSKY
                                                           Attorney at Law
16
                                                           A Professional Corporation
17
                                                           /s/ Jan David Karowsky
18
                                                  by
19                                                         JAN DAVID KAROWSKY
                                                           Attorney for Defendant
20                                                         Eric Johnston

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                                                  ORDER
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 2          Based on the stipulation of the parties and good cause appearing therefrom, the Court
 3
     hereby finds that the failure to grant a continuance of the date now set for a Status Conference in
 4
     this case would deny respective counsel for both parties reasonable time necessary for effective
 5
     preparation, taking into account the exercise of due diligence. The Court specifically finds that
 6
     the ends of justice served by the granting of such a continuance outweigh the interests of the
 7
     public and the defendant in a speedy trial and that the time within which the trial of this matter
 8
     must be commenced under the Speedy Trial Act is excluded during the time period from and
 9

10
     including August 29, 2013, through and including November 21, 2013, pursuant to 18

11   U.S.C.§3161(h)(7)(A)&(B)(iv) [reasonable time to prepare] and Local Code T4. The status

12   conference currently scheduled for August 29, 2013, is hereby vacated and continued to

13   November 21, 2013, at 9 a.m. in Courtroom 7.

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            IT IS SO ORDERED.
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     Dated: August 27, 2013
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